
By the Court.
We perceive no reason why a justice of the peace may not allow an amendment, to correct an irregularity in process, as well as any other court. The provisions of law are very broad. “ No process, &amp;c., shall be abated, quashed, &amp;e., for any circumstantial errors or mistakes, when the person and case may be rightly understood by the court.” Rev. Sts, *357c. 100, § 21. Bell v. Austin, 13 Pick. 90. “ The court in which any civil action is pending, at any time before judgment therein, may allow amendments either in form or substance, of any process,” &amp;c. § 22. This extends to all courts.
The person and case may be rightly understood, when the defendant is rightly summoned according to law, sc that the court has jurisdiction of the subject and of the persons of the parties. Here the defendant was sufficiently designated in the writ, and was summoned to appear at the time and place fixed. Exceptions overruled
